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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

BIGFOOT 4x4, INC.,                       )
                                         )
Plaintiff,                               )
                                         )
vs.                                      )      Case No. 1:22-CV-06758
                                         )
THE INDIVIDUALS,                         )      Magistrate Judge Jeffrey T. Gilbert
CORPORATIONS, LIMITED                    )
LIABILITY COMPANIES,                     )
PARTNERSHIPS, and                        )
UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED ON               )
SCHEDULE A HERETO,                       )
Defendants.                              )
                     MEMORANDUM OPINION AND ORDER

       Defendants Shenzhen Daeon Model Technology Co., Ltd., Shenzhen Aoxinfa

Technology Co., Ltd., and Shenzhen Tianqinli Technology Co., Ltd. (collectively, the

“Daeon Defendants”) seek to compel production of documents from Plaintiff Bigfoot

4x4, Inc. (“Plaintiff”). See Daeon Defendants’ Opposed Motion to Compel Production

of Documents and Award Fees and Costs [ECF No. 160]. The Daeon Defendants seek

to compel production of (1) agreements related to the asserted trademarks, including

litigation settlements and licensing agreements; (2) Plaintiff’s communications with

Amazon about the Daeon Defendants; and (3) all documents related to New Alchemy,

a company that Plaintiff works with in its efforts to protect its trademarks. See

Memorandum in Support of Motion to Compel [ECF No. 161] (“Motion”) at 3-6. 1 The



1 Fact discovery closed as of October 31, 2023. [ECF No. 144]; [ECF No. 158]. The Daeon

Defendants argue that they attempted to resolve these disputes with Plaintiff during the
discovery period, but were unable to do so. Plaintiff served amended responses to the Daeon
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Daeon Defendants also seek an award of their fees and expenses in bringing this

Motion pursuant to Federal Rule of Civil Procedure 37(a)(5). [Id.]

        Federal Rule of Civil Procedure 26(b)(1) states “[p]arties may obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense

and proportional to the needs of the case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the

issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.” FED. R. CIV. P. 26(b)(1). District courts have broad discretion when

ruling on discovery-related issues. See Peals v. Terre Haute Police Dep't, 535 F.3d 621,

629 (7th Cir. 2008); see also FED. R. CIV. P. 37(a).

   I.      Analysis

        A. Plaintiff’s Settlement And Licensing Agreements Related To
           The Asserted Trademarks.

        Plaintiff argues the Daeon Defendants’ requests for “all documents” related to

Plaintiff’s settlements and licensing of the trademarks at issue, and all agreements

related to those trademarks, are facially overbroad. Plaintiff’’s Response to Motion

[ECF No. 164] (“Response”) at 5-7. Request for Production No. 37 seeks “[a]ll

documents concerning settlement, judgment, or other resolution” related to Plaintiff’s

asserted trademarks; Request for Production No. 46 seeks “all agreements . . .

involving the Asserted Trademarks;” and Request for Production No. 47 seeks “[a]ll


Defendants’ requests for production on October 31, 2023, but did not supplement its
document production. [ECF No. 161] at 2. The Daeon Defendants filed this Motion on
November 17, 2023.


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documents concerning Plaintiff’s licensing” of the asserted trademarks. See Motion

[ECF No. 161] at 3.

      The Court agrees the requests as written are overbroad but that is not

necessarily the end of the matter. The Daeon Defendants now seek a narrower

category of documents, limited to “litigation settlements and licensing agreements”

that are “related to the asserted trademarks.” Motion [ECF No. 161] at 3; Reply in

Support of Daeon Defendants’ Motion [ECF No. 166] (“Reply”) at 2. The Daeon

Defendants say both settlement and licensing agreements related to the asserted

trademarks potentially are relevant to Plaintiff’s claim for damages for trademark

infringement. Motion [ECF No. 161] at 3-4; Reply [ECF No. 166] at 2. 2

      Plaintiff first says it should not be required to produce its settlement

agreements with other defendants given the confidentiality provisions in those

agreements. Response [ECF No. 164] at 7-8. While the Court agrees with the Daeon

Defendants that such confidentiality provisions do not immunize settlement

agreements from discovery, particularly where licensing or royalty terms could be

relevant to damages, [ECF No. 166] at 3, that does not mean confidentiality does not

serve an important goal in promoting the settlement of litigation. See Grove Fresh

Distributors, Inc. v. John Labatt Ltd., 888 F. Supp. 1427, 1441 (N.D. Ill. 1995), aff'd,


2 Although the Daeon Defendants also say they are seeking production of all of Plaintiff’s

“agreements related to its asserted trademarks,” which presumably could include documents
other than settlement or licensing agreements, Defendants only address the relevance of
licensing agreements and settlement agreements to assessing damages. Both parties also
focus their briefing on the question of whether settlement and licensing agreements should
be produced. Accordingly, the Court construes the Defendants’ Motion to seek production of
settlement and licensing agreements related to the asserted trademarks, rather than any
broader category of agreements that was not addressed by the parties.


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134 F.3d 374 (7th Cir. 1998) (“confidential settlement agreements are likely in the

long run to best serve the interests of the public and the parties alike: ‘[W]hatever

the value of disclosure, it should not obscure the strong public interest in, and policy

objectives furthered by, promoting settlement.’ Id. at 486. Thus, ‘absent special

circumstances, a court should honor confidentialities that are bargained-for elements

of settlement agreements.’”) (quoting Arthur R. Miller, Confidentiality, Protective

Orders, and Public Access to the Courts, 105 Harv.L.Rev. 427, 486–87 (1991)). 3

       Therefore, “[w]hether a confidential settlement agreement should be disclosed

to other parties in a multi-party case is governed by the familiar Rule

26(b)(1) discovery standards. . . . While there is no settlement privilege to overcome,

in most cases, the movant articulates a specific basis as to why the settlement terms

are relevant to a claim or defense in the continuing litigation so that production of

the settlement agreement is proportional to the needs of the case and overrides the

settling parties’ interest in keeping their settlement confidential.” In re Dealer Mgmt.

Sys. Antitrust Litig., 2019 WL 3884036, at *2 (N.D. Ill. Aug. 16, 2019). Here, the

Daeon Defendants contend Plaintiff’s settlement agreements are relevant to a


3 Plaintiff’s other cited cases do not weigh the relevance of settlement agreements against the

interest in confidentiality. See Homeland Ins. Co. of New York v. Health Care Serv. Corp.,
330 F.R.D. 180, 182–83 (N.D. Ill. 2019) (plaintiff’s request for settlement agreement to
evaluate merits of policy exhaustion defense was “premature” where “sole theory of relevance
is that the settlement agreement may refute HCSC's exhaustion argument or otherwise give
rise to a coverage defense” but the defendant had not yet made a claim under the insurance
policies at issue; “mere speculation that the settlement agreement might someday be relevant
does not warrant overriding the interests inherent in the settling parties' decision to keep
the agreement's terms confidential”); Butta-Brinkman v. FCA Int'l, Ltd., 164 F.R.D. 475,
476–77 (N.D. Ill. 1995) (denying plaintiff's motion to compel production of confidential
settlement agreements reached with other employees in sexual harassment cases based on
“the strong congressional policy favoring settlement” and where “the information is available
through other means”.


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trademark infringement damages calculation based on a reasonable royalty. Motion

[ECF No. 161] at 3; Reply [ECF No. 166] at 3.

      Plaintiff disputes the relevance of settlement agreements, citing Luxottica Grp.

S.p.A. v. Yiwu Cujia Trade Co., but that case simply is not on point. Response [ECF

No. 164] at 8. In that case, the plaintiff sought to obtain the defendant’s documents

from other trademark litigation involving different plaintiffs and product lines than

were involved in the litigation at hand. Here, the Daoen Defendants’ request is for

Plaintiff’s settlement agreements involving the same trademarks at issue in this case,

including between Plaintiff and other defendants in this litigation. Id., 2023 WL

6520213, at *3–4 (N.D. Ill. Oct. 5, 2023). The court in Luxottica Group. also did not

address whether or under what circumstances settlement agreements were relevant

to a plaintiff’s calculation of trademark damages.

      The Daeon Defendants do not cite cases directly addressing the relevance of

settlement agreements in their Motion, but in their Reply, Defendants cite M2M Sols.

LLC v. Sierra Wireless Am., Inc., which does address settlement agreements. That

decision, however, is only tangentially applicable to the discovery issue in this case

since it dealt primarily with the admissibility of expert testimony analyzing royalty

terms in a settlement agreement in a patent infringement case. Id., 2020 WL

7767639, at *17 (D. Del. Dec. 4, 2020), report and recommendation adopted, 2021 WL

7441706 (D. Del. Mar. 31, 2021). The court in M2M Sols did note that “‘[c]ourts are

generally skeptical of allowing settlement agreements to prove a reasonable royalty’”

but it also reasoned “a settlement agreement may properly be considered by a




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damages expert ‘in its proper context within the hypothetical negotiation framework

to ensure that the reasonable royalty reflects the economic demand for the claimed

technology.’” Id. (quoting TC Tech. LLC v. Sprint Corp., C.A. 2019 WL 2515779, at

*14 (D. Del. June 18, 2019). Although this language is helpful to the Daoen

Defendants here in the sense that it recognizes that information in a settlement

agreement can be relevant to a reasonable royalty calculation, the M2M Sols. case is

not strong authority that the Defendants’ broad request for production of all

settlement agreements related to Plaintiff’s trademarks passes muster under Rule

26(b)(1). And that is particularly true in this case considering that the court in M2M

Sols. addressed the propriety of an expert’s consideration of royalty provisions in

settlement agreements while, in this case, neither party will be presenting any expert

testimony. See Minute Order [ECF No. 158] (“None of these parties has retained

experts or made Rule 26(a)(2) expert disclosures so the expert discovery [schedule]

the Court set earlier in the case [113] is moot.”).

      The Court notes further that neither party here addresses whether Plaintiff is,

in fact, seeking damages based on a reasonable royalty rate in this case. See Motion

[ECF No. 161] at 3 (arguing relevance of such agreements because “[t]rademark

damages may be measured by a royalty . . . “) (emphasis added). See In re Dealer

Mgmt. Sys. Antitrust Litig., 2019 WL 3884036, at *2 (“If or when the terms of the

CDK/Cox settlement agreement do become relevant to a damage analysis, DCPs can

renew their motion seeking disclosure of the settlement agreement based on a more

specific or particularized argument than the argument they are now advancing.”).




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While this does not mean that royalty rates are irrelevant to Plaintiff’s potential

trademark damages, it does weigh against the proportionality of the Daeon

Defendant’s broad request for all of Plaintiff’s settlement agreements.

      Nevertheless, M2M Sols., along with other cases cited by the Daeon

Defendants about whether licensing terms are relevant to trademark damages,

suggest that Plaintiff’s settlement agreements related to the asserted trademarks in

this case, to the extent they include licensing terms or royalty rates, potentially could

be relevant to calculating infringement damages in this case. Indeed, Plaintiff does

not dispute that licensing terms could be relevant to its damages calculation.

Response [ECF No. 164] at 9 (noting Plaintiff has “already provided Defendants with

the pertinent information within the license agreements”).

      The Daeon Defendants, however, as noted above, are seeking all of Plaintiff’s

settlement agreements related to the asserted trademarks, not only those agreements

that contain terms potentially relevant to a royalty calculation, and that request is

overbroad. See Wag Hotels, Inc. v. Wag Labs, Inc., 2023 WL 3605977, at *8 (N.D. Cal.

May 22, 2023) (“no legitimate basis on which to calculate” reasonably royalty

damages in a trademark infringement case based on a settlement agreement that did

not contain any royalty provision). The Court could stop here with the Daoen

Defendants’ unreasonably broad discovery request but, given the history of this

litigation, that might not prevent the Daoen Defendants from coming back – first to

Plaintiff and then to the Court – with a more limited request for settlement

agreements that would pass muster under the legal authority discussed above.




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      Therefore, given that licensing or royalty terms in Plaintiff’s settlement

agreements related to the asserted trademarks potentially may be relevant to a

damages analysis in this case, and Plaintiff’s acknowledgement of the relevance of

that information at least as it is contained in licensing agreements, the Court will

grant the Daoen Defendants Motion in part and compel Plaintiff to produce its

settlement agreements with other defendants in this litigation, but the Court will

limit that production to settlement agreements that contain licensing or royalty

provisions for the trademarks asserted in this case. Plaintiff’s confidentiality

concerns can be respected by redacting all other terms in the settlement agreements

subject to production other than as necessary for the Daoen Defendants to

understand the royalty terms as potentially relevant to a damages calculation for

infringement. The Court recognizes that Defendants’ request is broader than just the

settlement agreements Plaintiff has entered into with other defendants in this case,

but under all the circumstances discussed above, the Court finds that the limited and

redacted production it is ordering is proportional to the needs of this case.

      Turning to the Daeon Defendant’s request for production of licensing

agreements related to the asserted trademarks, Plaintiff does not appear to dispute

the relevance of such information, including royalty rates, as Plaintiff already has

produced some of this information in a spreadsheet. Response [ECF No. 164] at 8.

Rather, Plaintiff argues production of the underlying licensing agreements is not

proportional to the needs of the case because Plaintiff has “already provided

Defendants with the pertinent information within the license agreements.” [Id.] at 9.




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The Daeon Defendants say they are entitled to review the full licensing agreements

and Plaintiff “cannot select which terms it finds appropriate to disclose and withhold

the actual documents.” Reply [ECF No. 166] at 3. The Court disagrees. The Daeon

Defendants have not articulated how or why any other terms in those licensing

agreements beyond the royalty information Plaintiff says it already disclosed are

relevant to the claims or defenses in this case. Nor do the Daeon Defendants dispute

such royalty information is in the spreadsheet produced by Plaintiff. The Daeon

Defendants’ position boils down to speculation that there could be other terms of

interest in Plaintiff’s licensing agreements, but that is not a sufficient basis to compel

the production of those agreements. For these reasons, the Court denies the Daeon

Defendants’ motion to compel production of the underlying license agreements given

Plaintiff’s production of the relevant royalty terms in those agreements.

      B. Plaintiff’s Communications With Amazon Regarding The
         Daeon Defendants.

      The    Daoen     Defendants     initially   sought    production    of   Plaintiff’s

communications with Amazon about the Daeon Defendants, claiming Plaintiff had

only “produced a limited subset of such communications.” Motion [ECF No. 161] at 4.

Plaintiff says that, with the addition of one email attached to its Response, the Daeon

Defendants “are in possession of all of the email correspondence between the e-

commerce platforms and Plaintiff concerning Defendants.” Response [ECF No. 164]

at 10. The Daeon Defendants point out that Plaintiff did not produce an Excel

spreadsheet that was referenced in the email attached to its Response. Reply [ECF

No. 166] at 7; see Exhibit A to Response, [ECF No. 164-1]. Plaintiff, however, says it



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previously produced the information provided by Amazon in that spreadsheet,

including the account number, email address, sales data and account balance for the

Daeon Defendants. Response [ECF No. 164] at 10. The Daeon Defendants also say

Plaintiff has “not produced any Amazon response” to an email attached as Exhibit G

to the Motion, which the Daeon Defendants say shows Plaintiff “instructed Amazon

to keep the Daeon Defendants’ accused product listing frozen even after the TRO had

expired.” Motion [ECF No. 161] at 4; Reply [ECF No. 166] at 7. 4

      Based on the record before the Court, there could be additional relevant

information in the Excel spreadsheet that was attached to the email Plaintiff

produced with its Response but not produced by Plaintiff beyond that which Plaintiff

says it already provided. As there is no dispute that this information is relevant and

Plaintiff does not contend it would be unduly burdensome or not proportional to the

needs of the case to produce the Excel spreadsheet, the Court orders Plaintiff to

produce any portions of the Excel spreadsheet referenced in the email attached to

Plaintiff’s Response that are related to the Daeon Defendants.

      The Daeon Defendants also request in Reply that Plaintiff “be ordered to

submit a declaration confirming it has done a reasonable search” and “confirm that

it has produced all communications with any e-commerce platform regarding the

Daeon Defendants.” Reply [ECF No. 166] at 7 (emphasis in original). The Daoen


4 Plaintiff also argues that Request for Production No. 38 is facially overbroad because it

requested “[a]ll documents concerning communications with any sales platform” related to
the asserted trademarks. Response [ECF No. 164] at 11. Plaintiff, however, appears to have
agreed to produce its communications with sales platforms related to the Daeon Defendants
use of the asserted trademarks and Plaintiff does not contend that narrowed request, which
is what is sought in the Motion, is overbroad.


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Defendants say Plaintiff’s representation that it has produced all email

correspondence concerning the Daeon Defendants is “disputable” because Plaintiff

has not produced the Excel spreadsheet addressed above. Id. Plaintiff, however, says

that it produced the substance of the information provided by Amazon in that

spreadsheet months ago, a point the Daeon Defendants do not directly dispute.

Moreover, the Court is ordering Plaintiff to produce the portions of the Excel

spreadsheet related to the Daeon Defendants. The Court is not persuaded there is

sufficient basis to otherwise question the adequacy of Plaintiff’s search for these

communications. For that reason, the Court denies the Daeon Defendants’ request

for a declaration regarding the completeness of Plaintiff’s production. To the extent,

however, that Plaintiff has in its possession, custody or control any response from

Amazon to the email attached as Exhibit G to the Motion ([ECF No. 161-7]), Plaintiff

is ordered to produce that response.

      C. Plaintiff’s Documents Related To New Alchemy.

      Finally, the Daeon Defendants seek all documents related to a company named

New Alchemy, which the Daeon Defendants say Plaintiff’s CEO testified “is at the

heart of [Plaintiff’s] ‘anti-counterfeiting program’” which “led to this lawsuit.” Motion

[ECF No. 161] at 5. The Daeon Defendants cite testimony from Plaintiff’s CEO that

New Alchemy “makes litigation strategy decisions”; “controls settlement”; and

“shares in the recovery against each defendant.” Motion [ECF No. 161] at 5.

      Plaintiff does not dispute the relevance of documents related to New Alchemy’s

investigation. Indeed, Plaintiff says it relied on information provided by New

Alchemy in filing this case and thus it appears to the Court this information is


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potentially relevant to the Daoen Defendants’ abuse of process counterclaim.

Response [ECF No. 164] at 13. Plaintiff instead contends “Counsel’s communications

with New Alchemy are considered protected communications under the attorney-

client privilege.” Response [ECF No. 164] at 13. Plaintiff says New Alchemy “assists

Plaintiff in the investigation of potential infringement and assists in making

litigation strategy decisions and its efforts regarding settlement parameters” and

“acts as an Agent for Plaintiff and therefore any communications between Plaintiff

and New Alchemy are protected under the attorney-client privilege.” [Id.] at 12.

Plaintiff also suggests documents reflecting “New Alchemy’s assistance in this

matter” are protected by the work product doctrine. Response [ECF No. 164] at 13.

      Accordingly, the issues presented are (1) whether Plaintiff’s or Plaintiff’s

counsel’s communications with New Alchemy are privileged, (2) whether New

Alchemy’s investigation documents and communications are protected work product,

and (3) whether Defendants’ request for production of all documents related to New

Alchemy is proportional to the needs of this case within the meaning of Federal Rule

of Civil Procedure 26(b)(1). As a threshold matter, a party claiming that otherwise

discoverable information is privileged must “expressly make the claim,” and “describe

the nature of the documents, communications, or tangible things ... in a manner ...

that will enable other parties to assess the claim.” FED. R. CIV. P. 26(b)(5)(A). The

burden rests upon the party objecting to disclosure to show why the information is

privileged and should not be produced. See United States v. BDO Seidman, 337 F.3d




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802, 811 (7th Cir. 2003); Kodish v. Oakbrook Terrace Fire Prot. Dist., 235 F.R.D. 447,

450 (N.D. Ill. 2006).

      The Daeon Defendants argue Plaintiff’s “broad brush” privilege claims are

insufficient to establish privilege over all documents and communications related to

New Alchemy. Reply [ECF No. 166] at 5-6. The Court agrees. The Daeon Defendants

correctly point out that while Plaintiff argues New Alchemy is acting as its agent,

Response [ECF No. 164] at 11-12, there is no “‘agent-client privilege” for

communications between Plaintiff and New Alchemy that do not involve an attorney.

Reply [ECF No. 166] at 4. The Court agrees that Plaintiff’s characterization of New

Alchemy as its agent, without more, is an insufficient basis to establish that all of

Plaintiff’s communications with New Alchemy are privileged attorney client

communications.

      As to whether Plaintiff’s counsel’s communications with New Alchemy are

privileged, Plaintiff says that where a third party is present or involved in attorney-

client communications, there is no waiver of privilege “when that third party is

present to assist the attorney in rendering legal advice” and the “involvement of the

third party must be ‘nearly indispensable’ or ‘serve some specialized purpose in

facilitating the attorney-client communications.” [ECF No. 164] at 12 (quoting

Breuder v. Bd. of Trustees of Cmty. Coll. Dist. No. 502, 2021 WL 4283464, at *3–4

(N.D. Ill. Sept. 21, 2021). Plaintiff says New Alchemy fits into this category because

its “investigation of potential infringers and the collecting of infringing evidence” as

to the various defendants in this lawsuit “as well as their input in the litigation




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strategy and settlement parameters is critical to Plaintiff’s case.” Response [ECF No.

164] at 13. Plaintiff asserts “New Alchemy’s efforts involved rendering advice critical

to facilitating and improving Counsel’s comprehension of the facts of the present case”

including because “Plaintiff’s Counsel did not search the e-commerce platforms . . . to

locate potential infringers of Plaintiff’s” trademarks “but rather relied upon the

expertise of New Alchemy to do so.” [Id.] Plaintiff also says that “Plaintiff’s Counsel

relied upon New Alchemy’s advice to assist with various defendants in its settlement

efforts in this matter.” [Id.] For all these reasons, Plaintiff says “New Alchemy’s

advice and efforts are an indispensable part of Counsel’s efforts in searching for

potential infringers, making legal determinations and resolving disputes between

defendants.” [Id.] For that reason, Plaintiff says its counsel’s communications with

New Alchemy are privileged.

      Plaintiff, however, has done little to support its privilege argument other than

to assert didactically that the documents the Daoen Defendants request are covered

by the attorney client privilege. Plaintiff, for example, has not produced a privilege

log of ostensibly privileged communications between itself or its counsel and New

Alchemy that would show the nature of the communications between counsel and

New Alchemy, the people involved or their capacity, or when those communications

occurred. Plaintiff cites to nothing other than its broad legal conclusions that all

documents relating to New Alchemy are privileged, with no evidentiary support

whatsoever for these statements.




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      Moreover, Plaintiff’s description of its relationship with New Alchemy in its

brief that it says give rise to its privilege claim and the testimony of Plaintiff’s CEO

and corporate representative witness about that subject is not entirely consistent.

Plaintiff’s CEO testified that New Alchemy submits reports of potential infringing

uses of Plaintiff’s trademarks to a non-attorney employee of Plaintiff and this non-

attorney reviews the results to identify which potential uses New Alchemy should

further investigate but does not make legal determinations about those identified

uses. Exhibit H to Motion [ECF No. 161-8] at 57-63. Plaintiff’s CEO also testified that

after this initial review, “New Alchemy takes it and goes from there” and “[a]s far as

I know, they contact the attorneys.” [Id.] at 61.

      Plaintiff’s CEO did not know whether any other attorney for Plaintiff analyzed

each defendant’s potential infringement before a lawsuit like the current litigation is

filed. [Id.] at 64-65. She testified Plaintiff had a general agreement with New

Alchemy as to the filing of ex parte motions for temporary restraining orders in these

cases, but she was not consulted about the decision to file such a motion in this case.

[Id.] at 148-151. In her declaration filed in support of the TRO motion, she stated

“[w]e perform, supervise and/or direct investigations related to Internet-based

infringement of the BIGFOOT Trademarks” and “[w]e, or someone working under our

direction, analyzed each of the Defendant Internet Stores and determined that

Counterfeit BIGFOOT Products were being offered for sale to the United States,

including Illinois.” Trent Declaration, [ECF No. 11-1] at para. 10. Plaintiff’s CEO also

testified at her deposition that New Alchemy handled settlements with defendants,




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settlement payments were made directly to New Alchemy, and Plaintiff received a

percentage of what New Alchemy collected. [Id.] at 121-126. Based on this record, the

extent to which Plaintiff’s counsel makes litigation decisions based on information

provided by New Alchemy, as Plaintiff’s conclusory argument goes, is far from clear.

       As the Daeon Defendants also note, Plaintiff’s CEO identified categories of

documents, including investigation reports from New Alchemy, which Defendants are

requesting that do not appear to involve any communications with counsel. Reply

[ECF No. 166] at 5. Plaintiff suggests such documents are protected by the work

product doctrine. Response [ECF No. 164] at 13. Courts have reached different

conclusions regarding whether the work product doctrine protects investigation

reports of companies providing trademark investigation services generated through

a process that appears to be similar in some respects to New Alchemy’s role in this

case (although the parties here do not address these decisions in their briefing).

       In Volkswagon AG v. Dorling Kindersley Pub., Inc., 2007 WL 188087, at *2–4

(E.D. Mich. Jan. 22, 2007), the court considered whether documents prepared by a

third-party company, Continental, which “is in the business of investigating possible

instances of trademark infringement” were protected work product. In that case, the

plaintiffs argued “Continental does the ‘initial work in collecting . . . evidence and

sending out cease-and-desist letters. If the matter isn’t resolved, it’s typically referred

to an outside law firm . . .” and the plaintiffs argued “Continental has assisted

Plaintiffs in resolving hundreds, if not thousands, of trademark infringement

matters.” Id., 2007 WL 188087, at *2–4. The court concluded “some cases on which




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Continental collects evidence are resolved without the involvement of a law firm and

ensuing litigation. In this way Continental is similar to an insurance company which

produces reports which may or may not later be used in litigation” and determined

“the question is whether Continental’s documents were prepared when Plaintiffs had

an objectively reasonable subjective belief that litigation was a real possibility.” Id.

The Court then found that the plaintiffs in that case failed to show “that litigation

was a real possibility at the time” the document was prepared where letters were

written three years before the subject trademark litigation was filed. Id.

      Another court, however, explained that the same trademark investigation

company, Continental, “‘is an intellectual property enforcement and investigation

firm, which assists companies and their counsel in finding and prohibiting

unauthorized use of their intellectual property,’” and concluded that where

“Continental contracted with [plaintiff and plaintiff’s outside counsel] to provide the

above services” and “privilege logs indicate, documents that involve Continental are

related to settlement, the alleged violation of the settlement agreement, and other

related litigation matters,” documents related to Continental were privileged

attorney client communications or protected work product. See Heckler & Koch, Inc.

v. German Sport Guns GmbH, 2012 WL 13029391, at *2–3 (S.D. Ind. Dec. 28, 2012),

clarified on denial of reconsideration, 2013 WL 2406262 (S.D. Ind. May 31, 2013)

(internal citations omitted). The court in Heckler & Koch distinguished Volkswagon,

noting “Continental’s current in-house counsel” was “also counsel of record” in

Heckler & Koch, and that “the documents in Volkswagon were created several years




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before any litigation commenced and were related to a routine intellectual property

infringement investigation,” while in Heckler & Koch, “the subject matter of the

documents . . . relates directly to litigation and the time period in which they were

created demonstrates that they were created in anticipation or because of litigation.”

Id.

      While the outcomes of these two decisions differ, both courts closely analyzed

the relationship between the trademark investigation company and the party’s

counsel based on evidence submitted by the trademark owner to determine whether

the investigation company’s work was in anticipation of litigation or whether its

communications with the party’s counsel were privileged. Cases are decided on their

facts and the applicable law. Here, Plaintiff has submitted no factual support for its

conclusory arguments about the nature of its and its counsel’s relationship with New

Alchemy that permit the Court to make a determination about the nature of that

relationship and whether communications in that context are privileged. Unlike in

Heckler & Koch, “New Alchemy is not an attorney or law firm” and New Alchemy has

no appearance of record in this litigation. Reply [ECF No. 166] at 4. The Court does

not know whether Plaintiff’s counsel was involved in the retention of New Alchemy

to perform investigations relevant to this case, whether those investigations were

done in anticipation of litigation or in the regular course of business, or the nature of

Plaintiff’s counsel’s involvement, if any, in supervising New Alchemy’s investigations

or settlement negotiations.




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      Given Plaintiff’s failure to provide factual support for its privilege and work

product claims, and, indeed, its failure to cite any specific documents or

communications in support of these claims, the Court cannot find that New Alchemy’s

communications with Plaintiff’s counsel (or more generally with Plaintiff) are covered

by any privilege that weighs against their production. For instance, and among other

issues, Plaintiff has not explained why communications between a non-attorney

employee of Plaintiff (as described by Plaintiff’s CEO) who is not making legal

determinations     and    New    Alchemy        would   be   protected   attorney-client

communications. It is also unclear how agreements between Plaintiff and New

Alchemy would be privileged communications or work product. See Reply [ECF No.

166] at 3. There is simply no support in the record for Plaintiff’s broad attorney client

privilege and work product doctrine claims other than Plaintiff’s say-so.

      “Simply asserting the argument that the third-party advisors and consultants

were integral to the in-house lawyers’ rendering legal advice is not enough. It must

be clear from the actual communications that the lawyer was seeking input and/or

advice from the third-party advisors and consultants in order to provide legal advice

rather than asking the third-party advisors and consultants to offer their

independent assistance, assessment, and opinion separate and apart from the legal

advice.” See In re Dealer Mgmt. Sys. Antitrust Litig., 2020 WL 7866172, at *3 (N.D.

Ill. Mar. 4, 2020). Plaintiff has submitted no information that would allow the Court

to make these kinds of determinations. Nor can the Court assess whether New

Alchemy’s trademark investigation reports were created in anticipation of litigation




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or if the reports are routine trademark monitoring conducted in the ordinary course

of business. Plaintiff’s blanket assertion of attorney-client privilege over all

communications between Plaintiff’s counsel and New Alchemy and work product over

all documents prepared by New Alchemy is insufficient to meet Plaintiff’s burden

under Rule 26(b)(5)(A).

       In addition, Plaintiff has not been consistent in asserting privilege as it relates

to New Alchemy. The Daeon Defendants requested documents related to New

Alchemy’s investigations and its communications with Plaintiff during and after

Plaintiff’s CEO’s deposition, Motion [ECF No. 161] at 5, but it does not appear that

Plaintiff asserted privilege over these documents during the deposition or the

discovery process. Nor did Plaintiff produce a privilege log of the New Alchemy

documents in discovery or in response to this Motion. “[T]he failure to provide a

proper privilege log may result in waiver of any asserted privilege,” a finding that

would also be appropriate here. See Schaeffer v. City of Chicago, 2020 WL 7395217,

at *3 (N.D. Ill. Dec. 15, 2020).

       In these circumstances, like in other cases, “[t]he Court has no way to

determine whether the protection [Plaintiff] seek[s] is appropriate, which is

[Plaintiff’s] burden as the party asserting work product protection.” See Rao v. Bd. of

Trustees of the Univ. of Illinois, 2016 WL 6124436, at *6 (N.D. Ill. Oct. 20, 2016)

(rejecting work product claim for investigation files where court was not “provided

with any evidence regarding the contents of the investigative files; Defendants have

not produced a single affidavit, an engagement letter, or even a general description




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of the documents that they seek to protect” concluding “Defendants have simply not

provided either the Plaintiff or the Court with any of the information necessary to

make an informed decision on whether the contents of the investigative files should

be withheld from discovery. Instead, Defendant waited until the eve of the close of

the discovery to make a claim of privilege over the entirety of two investigative files

that have not been described in anything but the broadest possible terms.”). See also

BDO Seidman, 337 F.3d at 811 (“The mere assertion of a privilege is not enough;

instead, a party that seeks to invoke the attorney-client privilege has the burden of

establishing all of its essential elements.”). The courts’ comments in these cases are

equally applicable here with respect to Plaintiff’s failure to meet its burden.

      For all these reasons, the Court finds that Plaintiff has failed to meet its

burden to establish that the attorney client privilege or work product protection

applies to all New Alchemy communications and documents. Therefore, the Court

finds that neither the attorney client privilege nor the work product doctrine block

Defendants from obtaining from Plaintiff, pursuant to a properly framed discovery

request, documents related to New Alchemy.

      The Court, however, must also assess whether the Daeon Defendants’ request

for “all documents related to New Alchemy” is proportional to the needs of the case.

FED. R. CIV. P. 26(b)(1). The Daeon Defendants say this request is derivative of (or

arguably included within) their broad Request for Production No. 3 (“RFP No. 3”),

which sought “[a]ll Documents concerning the circumstances surrounding Plaintiff’s

actual discovery of the facts alleged in the complaint.” Motion [ECF No. 161] at 5. The




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Daeon Defendants also assert documents related to New Alchemy are relevant to “the

adequacy of [Plaintiff’s] pre-suit investigation and the Daeon Defendants abuse of

process counterclaim” in this case. [Id.] at 1. 5

       Plaintiff did not object to RFP No. 3 as originally framed, nor did it object to

the scope of the Daeon Defendants’ reframing of RFP No. 3 to focus on New Alchemy

documents. See Plaintiff’s Second Amended Responses to the First Set of Requests

for Production by Defendant No. 99 “HobbyPark-US” [ECF No. 161-1]; Response

[ECF No. 164] at 11-14. In their Reply, the Daeon Defendants specify further the

documents related to New Alchemy that they now are seeking, identifying categories

of documents such as agreements between Plaintiff and New Alchemy, weekly reports

with the results of New Alchemy’s investigations, and monthly reports with financial

information including as to settlements with defendants. [ECF No. 166] at 3-7.

       The Daoen Defendants made their request for the New Alchemy documents

late in the discovery process. That may stem in large part from Plaintiff’s delay in

responding to discovery earlier in the case. The Daeon Defendants had to file a motion

to compel Plaintiff to respond to their discovery requests which the Court granted on

August 15, 2023 [ECF No. 123]. And while Plaintiff eventually produced documents




5 During the parties’ meet and confer efforts, the Daeon Defendants asserted that documents

related to New Alchemy were responsive to many of their requests for production in addition
to RFP No. 3, see Daeon Defendants’ Status Report [ECF No. 149] at 3, but in the Motion,
the Daeon Defendants argue only that documents related to New Alchemy are responsive to
RFP No. 3. See Motion [ECF No. 161] at 5. Based on the Court’s review, the Daeon
Defendants’ other requests for production did not include specific requests for documents
related to New Alchemy’s role in this litigation, although they broadly seek to discover
information about the extent of Plaintiff’s pre-suit investigation of trademark infringement
more generally. See Ex. A to Motion [ECF No. 161-1].


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on August 31, 2023 [ECF No. 136], on the eve of the then-existing discovery close date

of September 1, 2023 [ECF No. 113], Plaintiff’s CEO was not deposed until October

18, 2023, just over two weeks before the extended fact discovery close date of October

31, 2023 [ECF No. 137]. According to the Daeon Defendants, it was only when

Plaintiff’s CEO was deposed that they learned of New Alchemy’s role in this litigation,

and the Daeon Defendants promptly requested that Plaintiff produce documents

related to New Alchemy during and after that deposition. See Ex. D to Motion [ECF

No. 161-4]; see also Daeon Defendants’ Status Report [ECF No. 149] at 3. At that

point in the litigation, the Daoen Defendants could not serve additional discovery

targeting New Alchemy. So, they were left with re-framing their overbroad RFP No.

3 to focus on New Alchemy. When Plaintiff failed to produce any New Alchemy

documents, the Daeon Defendants brought this Motion.

      The Daeon Defendants have essentially re-framed RFP No. 3 to focus on

documents related to New Alchemy including the more specific categories identified

in their Reply (e.g., agreements between New Alchemy and Plaintiff, and

communications between New Alchemy and Plaintiff such as weekly and monthly

reports). The Court assumes the Daeon Defendants would further limit their request

for weekly and monthly reports to those documents that relate to the Daeon

Defendants. While this “blue penciling” of RFP No. 3 after the close of fact discovery

may not be the best practice in most cases, it is understandable in the context of this

case given Plaintiff’s delay in responding to the Daoen Defendants’ discovery requests

and it is sufficient to render the modified request proportional to the needs of this




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case, particularly as Plaintiff did not object to the Daoen Defendants reframing RFP

No. 3 in this way. Therefore, the Motion is granted but only with respect to the

narrower category of documents that the Daoen Defendants now say they are seeking:

agreements between New Alchemy and Plaintiff, and communications between New

Alchemy and Plaintiff such as weekly and monthly reports. The Daeon Defendants

do not articulate how their request for documents related to New Alchemy’s

investigations undertaken for Plaintiff in other cases or about unrelated trademark

disputes is relevant or proportional to the needs of this case. Therefore, the Daeon

Defendants’ Motion is denied to the extent Defendants ask the Court to compel

Plaintiff to produce this broader category of documents, and in all other respects.

      D. The Daeon Defendants’ Request for Reasonable Expenses.

      The Daeon Defendants also request an award of their fees and expenses in

bringing this Motion. Motion [ECF No. 161] at 1-2, 6. Pursuant to Federal Rule of

Civil Procedure 37(a)(5)(C), a court has discretion in apportioning fees where a motion

to compel discovery is granted in part and denied in part, as is the case here. FED.

R. CIV. P. 37(a)(5)(C); Alicea v. Cnty. of Cook, 88 F.4th 1209, 1219 (7th Cir. 2023)

(“Rule 37(a)(5)(C) provides that if a motion to compel is partially granted, the district

court has discretion to, ‘after giving an opportunity to be heard, apportion the

reasonable expenses for the motion.’”). In determining the proper apportionment of

expenses, or whether to apportion expenses at all, “the court will look to the relative

degree of success of the party seeking fees.” Belcastro v. United Airlines, Inc., 2020

WL 1248343, at *4 (N.D. Ill. Mar. 15, 2020) (internal citation omitted).




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         The Court has denied the Daeon Defendant’s Motion in part as to their

overbroad request for all settlement and licensing agreements, ordering production

of a much more limited set of documents than requested and they only narrowly

prevailed on their request for Plaintiff’s communications with Amazon, obtaining an

order that Plaintiff produce one spreadsheet that was referenced in a single email

that Plaintiff attached to its Response. As to the New Alchemy documents, the Daeon

Defendants’ request again was overbroad and was granted only in part because

Defendants substantially modified or reframed their original broad request for

production and subject to the additional proportionality limitations imposed by the

Court.

         Under these circumstances, the Court, in its discretion, finds that an award of

attorneys’ fees and expenses incurred by the Daeon Defendants in bringing this

Motion is not warranted under Rule 37(a)(5)(A)(iii).

   II.      Conclusion

         For all the above reasons, the Court grants in part and denies in part

Defendants Shenzhen Daeon Model Technology Co., Ltd., Shenzhen Aoxinfa

Technology Co., Ltd., and Shenzhen Tianqinli Technology Co., Ltd. Opposed Motion

to Compel Production of Documents and Award Fees and Costs [ECF No. 160]. The

Court grants in part the Daeon Defendants’ motion to compel production of Plaintiff’s

settlement agreements with other defendants in this litigation that contain licensing

or royalty terms related to the asserted trademarks with the redaction of all other

provisions in those agreements other than as necessary for the Daoen Defendants to




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